               Case
     Fill in this      19-33702-sgj11
                  information                  Doc
                              to identify your case:   1 Filed 11/04/19          Entered 11/04/19 12:45:59                   Page 1 of 10
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Texas        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                           
                                                           ✔
                                                           
                                                               Chapter 11
                                                               Chapter 12
                                                                                                                                        Check if this is an
                                                              Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                           04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Waters   Capital, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                Mailing address, if different from principal place
                                                                                                       of business
                                                                                                       4625  Greenville Avenue
                                                                                                       _______________________________________________
                                            ______________________________________________
                                            Number     Street                                          Number      Street

                                            ______________________________________________
                                                                                                       Suite 303
                                                                                                       _______________________________________________
                                                                                                       P.O. Box

                                            ______________________________________________
                                                                                                       Dallas                     TX      75206
                                                                                                       _______________________________________________
                                            City                        State    ZIP Code              City                      State      ZIP Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                            ______________________________________________             200 Mays Lane
                                            County                                                     _______________________________________________
                                                                                                       Number     Street

                                                                                                       _______________________________________________

                                                                                                       West Tawakoni              TX      75475
                                                                                                       _______________________________________________
                                                                                                       City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Waters Capital, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         
                                         ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5313
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                             is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
                                          Yes.              Northern District of Texas,
                                                   District _______________________       8/5/2019
                                                                                          Dallas Division
                                                                                    When _______________              19-32586-sgj11
                                                                                                         Case number _________________________
      within the last 8 years?
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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              Waters Capital, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Waters Capital, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              11/04/2019
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Edward E. Waters, Jr.
                                               _____________________________________________               Edward E. Waters, Jr.
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Managing Member
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Robert DeMarco
                                               _____________________________________________              Date         11/04/2019
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Robert DeMarco
                                               _________________________________________________________________________________________________
                                               Printed name
                                                DeMarco Mitchell, PLLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                1255 West 15th Street 805
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Plano
                                               ____________________________________________________             TX            75075
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (972) 578-1400
                                               ____________________________________                              robert@demarcomitchell.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                24014543                                                        TX
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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      Fill in this information to identify the case:

                    Waters Capital, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Texas
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Plymouth Financing & Leasing                                                               Unliquidated
1    c/o Lloyd Ward
     12901 North Central Expressway, 460
                                                                                                                                                     30,000.00
     Dallas, TX, 75243


     John Helms                                                         Legal Fees
2    11631 Hillcrest
     Dallas, TX, 75230
                                                                                                                                                     6,717.00



3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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                  Waters Capital, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                                          United States Bankruptcy Court
IN RE:                                                                  Case No.__________________
Waters Capital, LLC                                                                11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder       Shares                 Security Class
                                                                 (Or Percentage)        (or kind of interest)

 Edward Waters & Associates, Inc.                            1                          Other (Membership Interest)
 4625 Greenville Ave. Suite 303, Dallas, TX 75206




 Edward E. Waters, Jr.                                       49.5                       Managing member
 4625 Greenville Ave. Suite 303, Dallas, TX 75206




 Terry Moore                                                 49.5                       Other (Membership Interest)
 4625 Greenville Ave. Suite 303, Dallas, TX 75206
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Edward E. Waters, Jr.
4625 Greenville Ave.
Suite 303
Dallas
TX 75206


Edward Waters & Associates, Inc.
4625 Greenville Ave.
Suite 303
Dallas
TX 75206


FDRE
5060 SW PHilomath Blvd.
Suite 363
Corvallis, OR 97333


Ghrist Law
2735 Villa Creek Drive, 140
Dallas, TX 75234


Hunt County
P.O. Box 1042
Greenville, TX 75403


IBC
Attn.: Khalid Mahmood
204 Devonshire Road
Plano, TX 75094


Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346
Philadelphia, PA 19101-7346


John Helms
11631 Hillcrest
Dallas, TX 75230


Office of the Attorney General
Main Justice Building, Room 5111
10th & Constitution Avenue, N.W.
Washington, DC 20530


Plymouth Financing & Leasing
c/o Lloyd Ward
12901 North Central Expressway, 460
Dallas, TX 75243


Rapid Masonry
2017 South Peach Tree Road
Mesquite, TX 75180
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State Comptroller of Public Accounts
Revenue Accounting Division - Bankruptcy
P.O. Box 13528
Austin, TX 78711


Sulphur Rental
1411 Shannon Eoad East
Sulphur Springs, TX 75482


Tawakoni Building Materials
2708 Washington Street
Greenville, TX 75403


Terry Moore
4625 Greenville Ave.
Suite 303
Dallas
TX 75206


Texas Attorney General?s Office
Bankruptcy-Collections Division
P.O. Box 12548


Texas Workforce Commission
TEC Building - Bankruptcy
101 East 15th Street
Austin, TX 78778
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                               United States Bankruptcy Court
                               Northern District of Texas




         Waters Capital, LLC
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              11/04/2019                         /s/ Edward E. Waters, Jr.
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Managing Member
                                                 Position or relationship to debtor
